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                    EXHIBIT F
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                                  United States District Court
                                 Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

                    PLAINTIFF’S NOTICE OF TAKING VIDEOTAPED
                         DEPOSITION OF JEAN LUC BRUNEL

       PLEASE TAKE NOTICE THAT, pursuant to the subpoena we served counsel, the

undersigned counsel provides this Notice of Taking the Videotaped Deposition of the below-

named individual on the date and hour indicated.

       NAME:                          Jean Luc Brunel

       DATE AND TIME:                 June 7, 2016 at 9:00 a.m.

       LOCATION:                      Boies Schiller & Flexner, LLP
                                      575 Lexington Avenue
                                      New York, NY 10022
       The videotaped deposition will be taken upon oral examination before Magna Legal

Services, or any other notary public authorized by law to take depositions. The oral examination

will continue from day to day until completed.

       The video operator shall be provided by Magna Legal Services. This deposition is being

taken for the purpose of discovery, for use at trial, or for such other purposes as are permitted

under the rules of this Court.
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Dated: May 23, 2016.
                                            BOIES, SCHILLER & FLEXNER LLP

                                        By: /s/ Sigrid McCawley
                                             Sigrid McCawley (Pro Hac Vice)
                                             Meredith Schultz (Pro Hac Vice)
                                             Boies Schiller & Flexner LLP
                                             401 E. Las Olas Blvd., Suite 1200
                                             Ft. Lauderdale, FL 33301
                                             (954) 356-0011

                                             David Boies
                                             Boies Schiller & Flexner LLP
                                             333 Main Street
                                             Armonk, NY 10504

                                             Bradley J. Edwards (Pro Hac Vice)
                                             FARMER, JAFFE, WEISSING,
                                             EDWARDS, FISTOS & LEHRMAN, P.L.
                                             425 North Andrews Avenue, Suite 2
                                             Fort Lauderdale, Florida 33301
                                              (954) 524-2820

                                             Paul G. Cassell (Pro Hac Vice)
                                             S.J. Quinney College of Law
                                             University of Utah
                                             383 University St.
                                             Salt Lake City, UT 84112
                                             (801) 585-52021




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representation.
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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 23rd day of May, 2016, I served the attached document

PLAINTIFF’S NOTICE OF TAKING VIDEOTAPED DEPOSITION OF JEAN LUC BRUNEL via Email to the

following counsel of record.


       Robert Hantman, Esq.
       Hantman & Associates
       1120 Avenue of the Americas, 4th Floor
       New York, NY 10036
       Tel: (212) 684-3933
       Email: rhantman@hantmanlaw.com


       Laura A. Menninger, Esq.
       Jeffrey Pagliuca, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com
       Email: jpagliuca@hmflaw.com


                                                        /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley
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                                United States District Court
                               Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                   Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

                 NOTICE OF SERVICE OF RULE 45 SUBPOENA DUCES
                        TECUM UPON JEAN LUC BRUNEL


       PLEASE TAKE NOTICE THAT, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Plaintiff, Virginia Giuffre, hereby provides Notice of Service of Subpoena upon Jean

Luc Brunel. A copy of the Subpoena is attached to this Notice.

Dated: May 23, 2016
                                        By: /s/ Sigrid McCawley______________
                                             Sigrid McCawley (Pro Hac Vice)
                                             Meredith Schultz (Pro Hac Vice)
                                             Boies, Schiller & Flexner LLP
                                             401 E. Las Olas Blvd., Suite 1200
                                             Ft. Lauderdale, FL 33301
                                             (954) 356-0011

                                             David Boies
                                             Boies, Schiller & Flexner LLP
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                                             Armonk, NY 10504

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                                             EDWARDS, FISTOS & LEHRMAN, P.L.
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       Case 1:15-cv-07433-LAP Document 229-6 Filed 06/20/16 Page 20 of 24




                                                      Paul G. Cassell (Pro Hac Vice)
                                                      S.J. Quinney College of Law
                                                      University of Utah
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From:               Brad Edwards
To:                 Laura Menninger; Jeff Pagliuca
Cc:                 Smccawley@BSFLLP.com; cassellp@law.utah.edu; mschultz@BSFLLP.com
Subject:            Depositions next week
Date:               Thursday, June 02, 2016 9:23:30 AM




We got an email yesterday from Mr. Brunel's attorney saying he needs to reschedule. I believe he is trying to get us
new dates today or tomorrow.

We got a similar email from Mr. Fontanella's lawyer yesterday saying that he is also not available next week. His
email said he is available the week of the 27th. I told him I would call him to coordinate a new date once I had
spoken with you.

I have not heard from anyone representing Dana Burns yet. I was hoping you could tell me whether she is
represented and whether next week works for her or will also need resetting.

As of right now, the only confirmed depo for next week is that of Mr. Rizzo.

Laura, can you talk later this afternoon to see what we can do about a deposition schedule that makes sense for
everyone going forward? I figure Jeff will be flying.

If we don't connect today then I will try to make time to talk with him after the deposition tomorrow. I understand
that the hearing did not go forward this morning which is unfortunate as it gives us a little guidance where the court
stands on the deposition issues. Maybe you and I can talk and try to figure out some plan that works in the
meantime.

Brad

Sent from my iPhone
